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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
X

United States of America,

ORDER
15-CR-825 (ALC)

-V-
Elliot Halberstam,

Defendant(s)
xX

ANDREW L. CARTER, JR., United States District Judge:
The February 28, 2019 sentencing is adjourned to 1:30 p.m.

SO ORDERED.

Dated: New York, New York
February 27, 2019 / (La

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

